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NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
OR OF PARTY APPEARING IN PRO PER

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ATTORNEY(S) FOR: Plaintiff, Michael B. Stoker

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

Michael B. Stoker CASE NUMBER:

2:21-cv-00733
Plaintiff(s),

 

Vv.
Andrew R. Wheeler, Douglas Benevento, Ryan

Jackson, Corry Schiermeyer, and DOES 1 - 20, CERTIFICATION AND NOTICE

 

 

inclusive OF INTERESTED PARTIES
> Defendant(s) (Local Rule 7.1-1)

TO: THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for Plaintiff Michael B. Stoker

 

or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.

(List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

 

 

PARTY CONNECTION / INTEREST
Not applicable Not Applicable
January 27, 2021 /s/ Jordan D. Hankey
Date Signature

Attorney of record for (or name of party appearing in pro per):

 

 

CV-30 (05/13) NOTICE OF INTERESTED PARTIES
